                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
                                                       )
v.                                                     )       Criminal No. 3:10-00163
                                                       )       Judge Trauger
[23] SHAWN HOWELL                                      )

                                             ORDER

       Upon this court’s request, the Probation Office has looked into the matter of the detainer

pending against Mr. Howell, who is serving a state sentence concurrent with his federal

sentence. The Memorandum prepared by the Probation Office is attached to this Order, and it is

hereby ORDERED that this Memorandum shall be filed along with this Order by the Clerk.

       As this Memorandum reflects, the federal detainer will remain in effect until the

defendant has served his federal time while in state custody, anticipated to be June 8, 2014.

When he has finished his federal time, if he is still in state custody, the federal detainer will be

released.

       It is so ORDERED.

       Enter this 14th day of September 2012.



                                                       ___________________________________
                                                               ALETA A. TRAUGER
                                                             United States District Judge




Case 3:10-cr-00163         Document 1887         Filed 09/14/12       Page 1 of 1 PageID #: 8988
